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                Exhibit 3
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                                                                                                       Updated August 6, 2021
Defense Health Primer: Military Vaccinations
The Department of Defense (DOD) administers a variety of       Table 1. Mandatory Vaccinations for All
force health protection (FHP) measures to “promote,            Servicemembers
protect, improve, conserve, and restore” the health and
                                                                          Adenovirus                      Meningococcal
well-being of servicemembers. These measures include
health promotion and education programs, periodic health                Hepatitis A & B                     Poliovirus
assessments, preventive therapies, medical
countermeasures, and vaccinations. The U.S. military                       Influenza                   Tetanus-Diphtheria
instituted its first vaccination program in 1777 when              Measles/Mumps/Rubella                     Varicella
General George Washington directed the inoculation of the
Continental Army to protect personnel from smallpox.           Source: Joint Service Regulation on Immunizations and
Since then, DOD has implemented a variety of enduring or       Chemoprophylaxis for the Prevention of Infectious Diseases,
situational FHP measures to protect servicemembers from        October 7, 2013, p. 29.
health threats. Certain vaccines are required for all          DOD Immunization Program
servicemembers, while others may only be required for          The Defense Health Agency (DHA) manages the DOD
those deploying to particular locations. Other vaccines may    Immunization Program. Based on the MILDEPs’ and
be available based on public health recommendations or on      combatant commands’ vaccination requirements, as well as
a voluntary basis.                                             CDC and ACIP recommendations, DHA coordinates the
Since at least the late 1990s, Congress has expressed          administration of vaccines to servicemembers and other
interest in DOD vaccination policies, specifically those on    DOD beneficiaries. Vaccinations are typically available in
compulsory vaccinations. Similar interest among certain        military treatment facilities, certain military-specific
Members of Congress has arisen as DOD administers the          settings (e.g., basic training), or from participating
Coronavirus Disease 2019 (COVID-19) vaccine to                 TRICARE providers. DHA is also responsible for relevant
servicemembers on a voluntary basis. This In Focus             medical documentation, patient safety surveillance, and
describes DOD’s military vaccination policies and              coordination with the Defense Logistics Agency and
immunization program, and offers issues for congressional      commercial manufacturers to procure such vaccines. DOD
consideration.                                                 health care providers typically document servicemember
                                                               vaccinations and any related adverse health events in the
DOD Policies on Military Vaccinations                          electronic health record system (e.g., MHS Genesis), paper
DOD Instruction 6205.02 establishes the DOD                    medical records, and the respective MILDEPs’ medical
Immunization Program. The policy generally directs             readiness information system.
combatant commands and the military departments
(MILDEPs) to identify and define “mandatory                    Opting Out of a Vaccination
immunization requirements” for servicemembers. The Joint       A servicemember may request to opt out of a mandatory
Regulation on Immunization and Chemoprophylaxis for the        vaccination. Upon request by a servicemember, DOD may
Prevention of Infectious Diseases outlines specific            authorize a temporary or permanent medical or
vaccination requirements for servicemembers, as well as        administrative exemption to a required vaccine. DOD
service-specific procedures for administering such             health care providers may authorize a medical exemption
requirements. In general, DOD vaccination requirements         when a servicemember has an underlying health condition
follow the recommendations of the U.S. Centers for Disease     or known adverse reaction contraindicated with a certain
Control and Prevention (CDC) and the Advisory                  vaccine. Unit commanders may authorize an administrative
Committee on Immunization Practices (ACIP). DOD                exemption for a servicemember who is within 180 days
vaccination requirements fall into one of three categories:    from separating or retiring from the military or within 30
                                                               days of departing a permanent assignment location.
 vaccinations during initial entry or basic training;         Pursuant to the Religious Freedom Restoration Act (42
 routine adult vaccinations; and                              U.S.C. §2000bb-1), administrative exemptions for religious
 special risk-based, or occupation-specific vaccinations.     reasons may also be granted. DOD policy requires that:
Table 1 lists the mandatory vaccinations required for all       the unit commander seek input from medical, legal, and
servicemembers upon entering initial entry or basic               chaplain representatives;
training. In addition to these vaccinations, combatant          the unit commander counsel the servicemember on
commands establish further requirements for                      potential adverse impact to “deployability, assignment,
servicemembers, other DOD personnel, and certain family          or international travel”; and
members, based on specific health threats in a geographic       a military physician counsel the servicemember on the
region.                                                          benefits and risks of forgoing a required vaccination.


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                                                                                   Defense Health Primer: Military Vaccinations

Unit commanders may revoke a religious exemption “if the         compulsory vaccinations and may support congressional
individual and/or unit are at imminent risk of exposure to a     oversight of the DOD Immunization Program.
disease for which an immunization is available.”
                                                                 Program Administration
Commanders may also administratively separate, or initiate
disciplinary proceedings under the Uniform Code of                Are the MILDEPs receiving adequate support from
                                                                   DHA to meet their medical readiness requirements?
Military Justice, servicemembers without an authorized
exemption, if they are non-compliant with a mandatory
                                                                  How do DOD and CDC share pertinent health
                                                                   information documented in the Vaccine Adverse Event
vaccination.
                                                                   Reporting System?
Authority to Waive Informed Consent                               What health communication strategies are used to
DOD Instruction 6205.02 directs the “preferential use of           educate or solicit feedback from servicemembers on
immunizations approved by the U.S. Food and Drug                   DOD’s vaccination or other FHP requirements?
Administration” (FDA); however, non-FDA approved
                                                                 Military Readiness
drugs, biologics (e.g., vaccines), or medical products may
be administered for FHP purposes. DOD may administer an           Does DOD have adequate authorities and processes in
                                                                    place to protect the health and well-being of
“investigational new drug” or “drug unapproved for its
                                                                    servicemembers and other DOD personnel conducting
applied use” to servicemembers after obtaining prior
consent (also referred to as informed consent). Under 21            the full range of military operations?
U.S.C. §355(i)(4) and related regulations, the informed
                                                                  What were the lessons learned from the Anthrax
                                                                    Vaccine Immunization Program and how were those
consent process typically requires human subjects to agree
to the receipt of drug, biologic, or medical product upon a         lessons used to improve the DOD Immunization
disclosure that the product in question is not yet FDA              Program?
approved and that the receipt of such product is voluntary.      COVID-19 Vaccinations
In certain instances, DOD may request a waiver to statutory       What is DOD’s long-term strategy to mitigate risks from
                                                                   COVID-19 and of future pandemics?
and regulatory informed consent requirements in order
make an investigational drug, biologic, or medical product
                                                                  Will DOD’s COVID-19 mitigation strategy require
mandatory for servicemembers participating “in a particular        compulsory vaccination of servicemembers? Is DOD
                                                                   considering requesting a waiver of informed consent for
military operation.” Section 1107 of Title 10, U.S. Code:
                                                                   the COVID-19 vaccine?
 authorizes the Secretary of Defense to request a waiver;
 assigns approval authority to the President of the United                       Relevant Statutes and Policies
  States; and                                                     10 U.S.C. §1107 – Notice of use of an investigational new
 if a waiver is approved, directs a congressional                drug or a drug unapproved for its applied use
  notification process.
                                                                  10 U.S.C. §1107a – Emergency use products
If a waiver of informed consent is approved, the statute also     21 U.S.C. §355 – New drugs
requires DOD, prior to administering the investigational
product, to notify servicemembers that a non-FDA                  DOD Directive 6200.04 – Force Health Protection (FHP)
approved product is being administered, the reasoning for         DOD Instruction 6200.02 – Application of Food and Drug
such use, information on known side effects, and other            Administration Rules to Department of Defense Force Health
information that the “Secretary of Health and Human               Protection Programs
Services may require to be disclosed.” For products subject       DOD Instruction 6205.02 – DoD Immunization Program
to emergency use authority (EUA), as is the case for several
                                                                  Joint Service Regulation on Immunizations and
COVID-19 vaccines, Section 1107a of Title 10, U.S. Code
                                                                  Chemoprophylaxis for the Prevention of Infectious Diseases
grants the President the authority to waive certain EUA
conditions “designed to ensure that individuals are
                                                                                          CRS Products
informed of an option to accept or refuse administration” of
the product.                                                      CRS In Focus IF10530, Defense Primer: Military Health System,
                                                                  by Bryce H. P. Mendez
A waiver of informed consent does not abrogate the Feres
                                                                  CRS Report R46745, State and Federal Authority to Mandate
doctrine. If a servicemember is harmed from an
                                                                  COVID-19 Vaccination, by Wen W. Shen
administered drug, biologic, or medical product, Feres
generally prohibits active duty servicemembers from filing        CRS In Focus IF11102, Military Medical Malpractice and the
medical malpractice lawsuits against the United States.           Feres Doctrine, by Bryce H. P. Mendez and Kevin M. Lewis
However, servicemembers may seek alternative recourse             CRS Legal Sidebar LSB10584, Compensation Programs for
through a DOD administrative process, the National                Potential COVID-19 Vaccine Injuries, by Kevin J. Hickey and Erin
Vaccine Injury Compensation Program, the                          H. Ward
Countermeasures Injury Compensation Program, or                   CRS In Focus IF10745, Emergency Use Authorization and FDA’s
disability compensation administered by the Department of         Related Authorities, by Agata Bodie
Veterans Affairs.
Issues for Congress
The following lines of inquiry may assist Congress in            Bryce H. P. Mendez, Analyst in Defense Health Care
obtaining further clarification on the administration of         Policy


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